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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

DAWSON VALLEE                             *     NO. 2:20-cv-01571
                                          *
                  Plaintiff               *     JUDGE: SARAH S. VANCE
                                          *
VERSUS                                    *     MAG.: KAREN WELLS ROBY
                                          *
CROWN EQUIPMENT CORPORATION               *
OF OHIO d/b/a CROWN LIFT TRUCKS,          *     SECTION: “R” (4)
GEORGE BORDELON, AND                      *
ADAM GIROIR                               *
                                          *
                  Defendants              *
****************************************************************************
         PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT
 CROWN EQUIPMENT CORPORATION’S MOTION FOR SUMMARY JUDGMENT
                  ON PLAINTIFF’S DESIGN DEFECT CLAIMS

MAY IT PLEASE THE COURT:

                                          I. Introduction

       Crown has a long and confusing history regarding its open compartment design. This

design defect causes crush or amputation injuries to the left leg of the operators of the stand-up

forklifts when an operator of the forklift has an emergency or unexpected event such as an

impact between the forklift and a stationary object.

       Even more perplexing is that prior to Dawson Vallee’s accident, or any similar accident

involving a Crown stand-up forklift, Crown has already reached conclusions. In other words,

without investigating the accident or performing any test, interviews or engaging any other

determinative tool, Crown’s conclusion is exactly what is contained in other motions for

summary judgment filed in numerous left leg injury cases. Spearheading this pre-determined,

non-scientific, ipse dixit defense is Ronald Grisez, director of product safety for Crown:

               Q:      Mr. Grisez, I want to come back to this idea about an
                       operator gets his leg -- his or her leg outside of an occupant

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                          compartment and suffers a lower leg injury and your use of
                          the word volitional. Is it Crown's position that every time
                          an operator gets his or her leg outside of the occupant
                          compartment of a stand-up lift truck and gets injured,
                          that operator made a conscious decision to place his or
                          her leg outside of the occupant compartment?
                 A:       I'm saying I don't know exactly the reason why it was
                          outside, but they were responsible for putting it there.1

        And just like Crown’s summary judgment in this instant case, the circular,

interconnected, pre-ordained arguments continue:

                 Q:       And if the operator places his or her leg outside of the
                          operator compartment -- occupant compartment, that would
                          be contrary to the training provided by Crown, true?
                 A:       The training provided by Crown instructs the operator to
                          stay within the running lines of the truck and inside the
                          operator compartment. That's correct.
                 Q:       So is it Crown's position that every time an operator suffers
                          a lower leg injury when no intrusion is involved, that the
                          operator violated his or her training?
                 A:       Given that the instructions to the operator are to stay within
                          the running lines of the truck while the truck is still moving
                          -- those are the instructions, and if they do not do that or
                          did not do that, then that would be a violation of the
                          instructions.
                 Q:       So every time an occupant's leg gets injured outside of
                          the occupant compartment, the operator violated his or
                          her training, true?
                 A:       There's -- that is the training. That's correct.2

        Thus, even for similar accidents that happened in 2021 or will happen in 2022, Crown’s

position is, in a nutshell, (1) you violate the Crown’s warnings by putting your foot out and, (2)

by putting your foot out you also violate your training.




1 Deposition of Ronald A. Grisez, Johns v. Crown Equipment Corporation, et al, Supreme Court of the State of New
York, County of Broome, Civil Division Case No. EFCA2019002015, (hereinafter “Johns v. Crown”), p. 69, lines
8-22 attached as Exhibit “1”. (Emphasis supplied).
See also, Deposition of Ronald A. Grisez, Johns v. Crown, p. 75, line 25 to p. 76 line 3 attached as Exhibit “1”.
2
  Deposition of Ronald A. Grisez, Johns v. Crown, p. 72, line 7 to p. 73 line 8 attached as Exhibit “1”. (Emphasis
supplied).



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        As mentioned in other filings, Dawson Vallee vehemently denies that he intentionally,

voluntarily, volitionally, or purposefully stuck his foot outside of the open compartment of the

RM6000 and sought to crush his foot between the pole/bollard and the RM6000.3 Further, it is

undisputed that there is nothing in Mr. Vallee’s pre or post-accident medical records to suggest

he was somehow intentionally seeking to hurt himself.4 Yet, this is exactly what Crown argues

in its memorandum.

        As previously stated, Crown knows that there will be numerous collisions and contact

between the stand-up forklift and stationary objects, some resulting in injury and some not. For

example, in McEuin v. Crown Equipment Corporation, 328 F.3d 1028 (9th Cir. 2003), plaintiff

was injured while operating a Crown stand-up forklift, in a forks-trailing position, when he

collided with a steel post. McEuin had, “diverted his attention in order to check on the position

of the cargo, extending his left leg outside of the operator’s cabin as he leaned toward the front

of the forklift.” Id.

        Crown argued, inter alia, that McEuin violated the warning by placing his foot outside of

the door of the compartment and that the “ANSI [B.56] committee had twice rejected a

recommendation that doors become a requirement on stand-up forklifts.” Id.

        McEuin argued that Crown was liable for “designing, manufacturing and selling the

30RC in an unreasonable dangerous condition because…it failed to supply a door that would

have reduced or eliminated the risk of injury to the operator’s left leg…” Id. McEuin also argued

Crown’s warnings were inadequate.



3 Q: Did you make any attempt to try to step out of the lift truck prior to impact?
  A: No, sir.
(Deposition of Dawson Vallee, p. 72, lines 20-22 attached as Exhibit “2”).
4
  Mr. Vallee had graduated from Archbishop Shaw High School in May of 2018. This accident occurred one year
later.



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         The jury found that Crown’s warnings were adequate, but “found that the design of the

30RC was dangerously defective.” Id. Fault was apportioned 50-50 amongst Crown and

plaintiff.

         McEuin is one of the nearly 700 lower leg injures suffered by operators of Crown stand-

up forklifts through the year 2017.5 Lower left leg injuries to Crown forklift operators are

occurring at a rate of about 15 per year.6

         As stated in Crown’s memorandum in support of its motion for summary judgment,

Crown believes that an open compartment is necessary so that operators, in emergency,

unexpected off-dock or tip over accidents, can jump out of the compartment.

                  Q:      So if an operator experiences an off-the-dock incident, it's
                          Crown's expectation that it will be the very first time this
                          operator has encountered such a situation, true?
                  A:      Besides the instructions to jump, the actual encounter, yes.
                          These are very rare events.
                  (Deposition of Ronald A. Grisez, Johns v. Crown, p. 118, lines 18-
                  25 attached as Exhibit “1”.

         In connection with the instant case, an off-dock accident is not only rare, it is impossible

for such an event to happen at the Republic National Distributing Company (hereinafter

“Republic”) facility. The RM6000, C-21, was specifically manufactured for Republic for use at

the facility where it was delivered (See Deposition of Ronald Grisez, Vallee v. Dawson, p. 28,

lines 9-18 attached as Exhibit “3”). The request for admission answered by Crown leaves no

doubt that the C-21 was manufactured specifically for Republic:


5 Q: What's the current number of lower leg injuries suffered by operators of Crown stand-up lift
      trucks?
  A: I guess I haven't that number memorized except -- up to the year 2017. I believe in that -- from
     the beginning to 2017, I believe that number is just less than 700, I believe.
(Deposition of Ronald A. Grisez, Johns v. Crown, p. 8, lines 10-17 attached as Exhibit “1”).
6 Q: And left foot injuries occur at the rate of about 15 per year. Is that still true?

  A: The -- it's -- I think we talked about this before. It's around that average, yeah.
(Deposition of Ronald A. Grisez, Johns v. Crown, p. 142, line 21 to p. 143, line 1 attached as Exhibit “1”).



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                 Request No. 4: Crown manufactured the subject forklift specially
                 in response to a purchase order.

                 Response: Crown admits that it manufactured the subject RM6000
                 based upon the specifications requested by Republic.

                 Request No. 5: Crown manufactured the subject forklift
                 specifically in response to a purchase order from Republic
                 National Distributing Company or an entity acting on its behalf.

                 Response: Crown admits that it manufactured the subject RM6000
                 based upon the specifications requested by Republic.
                 (See Crown’s responses to plaintiff’s request for admission attached
                 as Exhibit “4”).

        While the testimony of Mr. Grisez suggests off-dock accidents are rare, off-dock

accidents involving the RM6000 model built specifically for Republic cannot happen. Stated in

mathematical terms, there is a zero probability that off-dock accidents can happen at Republic

with the RM6000 model. Mr. Donald Ranziano’s declaration and photographs attached thereto

show that the RM6000 could not access one area of the Republic where docks are located as

conveyor belts were placed at the docks to load product into trucks. Further, the other dock area

cannot accommodate the size of the RM6000 mast, i.e., driving the RM6000 into a truck at that

door location would damage the building and the mast of the RM6000.7

        Likewise, tip-overs are even rarer than off-dock accidents. Mr. Grisez confirms that

Crown engineering seems to have significantly reduced, if not nearly eliminated, tip-over

accidents. Failsafe mechanisms, such as slowing the stand-up forklift when the forks are up and

loaded and reducing speed when the forklift turns at a specific angle prevents tip-overs, have

contributed to this reduction in tip overs.8 Not only that, but such a reduction in speed would


7See Declaration of Donald Raziano dated 10/29/21 attached as Exhibit “5”).
8A: …Now we can detect if you're steering more than 10 degrees from straight ahead. We can start to slow the
    truck down.
(Deposition of Ronald A. Grisez, Johns v. Crown, p. 90, lines 19-21 attached as Exhibit “1”).



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significantly slow the timing of a tip-over event, confirming that a door would not impede exit

during these extremely rare events.

                                      II. Law and Argument

   A. Summary Judgement Standard

       A defendant is not entitled to summary judgment on a plaintiff's claims unless the

defendant can demonstrate that there is no genuine issue as to any material fact. Fed. R. Civ. P.

56(a). A defendant must support its assertion of undisputed material facts by citing to the case

record or showing that the plaintiff cannot produce admissible evidence to support a material fact

at issue. Fed. R. Civ. Proc. 56(c). The substantive law applicable to the case identifies the material

facts for purposes of the summary judgment motion. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986). When assessing whether a genuine dispute of material facts exists, the court

considers “all of the evidence in the record but refrain[s] from making credibility determinations

or weighing the evidence.” Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d

395, 398 (5th Cir. 2008) (citing Reeves v. Sanderson Plumbing Prod., Inc., 530 U.S. 133, 150

(2000)). The court “must draw all reasonable inferences in favor of the nonmoving party,” and it

ultimately must be satisfied that “a reasonable jury could not return a verdict for the nonmoving

party.” Reeves, 530 U.S. at 150; Delta & Pine Land Co., 530 F.3d at 399. The trial court should

act with caution in granting summary judgment and may deny the motion in a case in which “there

is reason to believe that the better course would be to proceed to a full trial.” Anderson, 477 U.S.

at 255 (citing Kennedy v. Silas Mason Co., 334 U.S. 249 (1948)).

   B. The LPLA

       A product is unreasonably dangerous in design if, at the time of the product left its

manufacturer’s control:




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                  (1)      There existed an alternative design that was capable of
                           preventing the claimant’s damage; and

                  (2)    The likelihood that the product’s design would cause the
                         claimant’s damage and the gravity of that damage
                         outweighed the burden on the manufacturer of adopting the
                         alternative design and the adverse effect, if any of such
                         alternative design on the utility of the product. An
                         adequate warning about a product shall be considered in
                         evaluating the likelihood of damage when the manufacturer
                         has used reasonable care to provide adequate warnings to
                         users and handlers of the product.
                         LSA–R.S. 9:2800.56.
                  (Holloway v. Midland Risk Ins. Co., 832 So.2d 1004, 1011 (La.
                  App. 2nd Cir. 2002)).

Under Louisiana law, the sources of law are legislation and custom. (La. C.C. art 1). Legislation

is a solemn expression of legislative will. (La. C.C. art. 2) Thus, under our Louisiana civilian

tradition, a reading of the statute and application of the facts thereto, might lead one to conclude

that the stand-up forklift operated by Dawson Valle was defective in design.

         First, the inquiry must be whether there existed an alternative design for the product that

was capable of preventing the claimant’s damages, provided the alternative design existed at the

time the RM6000 forklift left the manufacturer. There is no requirement under the text of

provision that there be a “specific” alternative design. Neither the word “specific” nor the word

“actual” appear in the pertinent part of LPLA under discussion. The RM6000 stand-up forklift,

C-21, was manufactured on June 17, 2016.9

         At the time of the manufacturer of the RM6000 C-21, there existed an alternative design

that would have prevented the claimant’s damage. Plaintiff submits that a door would have

prevented the plaintiff’s damage and, specifically, a door such as the one Crown manufactured

for its RC model. The declaration of Dr. Richard Ziernicki states the following:


9
  A: [Y]our report, on page 28, says that it was built June 17th, 2016.
(Deposition of Ronald Grisez, Vallee v. Crown, p. 33, lines 15-16 attached as Exhibit “3”).


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                 A Special Order Door Summary was performed by Crown on
                 12/26/96, which determined that Crown had produced 347 lift
                 trucks equipped with a door. Crown has sold 176 doors to Ford
                 after the 1996 survey was performed. Moreover, according to the
                 list of stand up rider with heated cabs, an additional 163 Crown
                 stand up lift trucks were equipped with a door. Through, 1/22/04,
                 the total number of stand up lift trucks that Crown has provided
                 with a door is 686.10

        It is clear that Crown placed 686 Crown stand-up lifts into the stream of commerce with

doors. The December 12/26/96 door summary show the application of doors to RR and RC

models with Ford, Chrysler and K-Mart having the majority of RR and RC stand-up forklifts

with doors in their inventory.11

        It is undisputed that there was not a single incident where a door contributed to the cause

of any injury or death.12 In other words, Crown has not had a single crush to the left leg or left

leg amputation when an alternative design, a stand-up forklift with a door, is in place. Therefore,

plaintiff has satisfied the second prong of the LPLA under a textual analysis.

        The third prong of the analysis looks at the likelihood of the design would cause damage

and the gravity to the damage. The likelihood that the design would cause damage is significant

in that there are approximately fifteen (15) serious left leg injuries, including crush and

amputations, occurring per year. The gravity of the harm, the loss of the lower extremity, is

substantial. These injuries are permanent in nature, create disability and warrant expensive

medical treatment and care.13 Plaintiff has satisfied the third prong of the textual analysis.




10
   Mahon, et al v. Crown Equipment Corporation, et al, Case No. CIV-S03-1763 MCE DAD Doc. 75, p. 4, See also
Special Order Door Summary attached as Exhibit “6”).
11
   See deposition of Adam Giroir p. 14, lines 9-14 indicating that the RC and RM model compartment entrances are
basically the same. (Exhibit “7”).
12
   Deposition of Ronald Grisez, Johns v. Crown, p. 12, line 11 to p. 13, line 5 attached as Exhibit “1”.
13 See medical cost summary of Dr. Shelly Savant attached as Exhibit “8”.




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         The fourth prong of a civilian textual analysis must address the burden on the

manufacturer in adopting the alternative and the effect of the alternative design on the utility of

the product.

         The burden on the manufacturer is slight. To retrofit the RM6000 C-21 with a door the

cost is $750-$100014 Further, Crown could simply add to the cost of the product if it so chooses.

The point is that costs to add a door are extremely low.15 Moreover, the utility of the vehicle is

not affected. Crown has placed 686 Crown forklifts with doors into the market performing the

task of carrying products from point A to point B. A door does not affect the capability of the

machine to lift, carry and deliver a product within the Republic warehouse.16

         Having satisfied the four prongs, the adequacy of the warnings and the effect on the

likelihood of Dawson’s damage is the next inquiry. There have been a substantial number of

serious left leg injuries documented by Crown up to 2017. Arguably, this presents an issue of

fact – because of the substantiated number of injuries, are the warnings “adequate”? Crown may

argue that the warnings tell you to keep your legs inside the operator compartment, but it appears

nearly 700 individuals have found there legs outside of the open compartment, with many

sustaining an amputation.




14 A: It would be a ballpark. It would probably be, because of the serviced and travel and the amount of work to
       retrofit versus just put a door on, probably in the 750-$1000 range.
(Deposition of Ronald Grisez, Johns v. Crown p. 162, lines 20-24 attached as Exhibit “1”).
15 There is no evidence that a door is prohibitively expensive such that they are a nonviable solution. Raymond and

other manufacturers have been offering doors for years. Doors with and without latches have been successfully
installed on and used on many stand-up lift trucks. Cost has never been claimed to be the reason it is not provided as
standard equipment.
   In his testimony in the Cagle v. Crown case in 1990, Mr. Dan Dunlap at Crown indicated the cost of providing a
rear safety door was $50.00 to $100.00 when installed at the factory. In 2000, Crown in an Interrogatory response in
the Crowe v. Crown matter, stated that it would cost only $150.00 to install a door as original equipment and that it
would add on another $350.00 for profit bringing the total cost to $500.00.
(Dr. John Meyer’s report pp 112-113 attached as Exhibit “9”).
16 See Declaration of Donald Raziano dated 10/29/21 attached as Exhibit “5”.




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        Arguably, the adequacy of the warning and whether the warning even works in

unexpected, emergency situations is a question to be decided by the jury. Perhaps Crown should

consider a warning displaying an amputated leg within the operators view in the compartment to

adequately warn of this known potential risk given the number of left leg injuries and

amputations it is aware of.

                            (ii.) Design Defect Jurisprudence Analysis

        Louisiana case law suggests when the defect in question involves an easy and quick

alternative, the plaintiff is not required to reinvent the wheel.

        In Holloway v. Midland Risk Ins. Co., 832 So. 2d 1004 (La. App. 2002), the plaintiff was

a fireman involved in extricating a driver involved in a one-car accident. During the rescue

process, it was necessary to use hydraulic rescue equipment which included a “high-pressure

hydraulic hose connecting the pump to the rescue tool.” Id. at 1007. At some point during the

extraction, plaintiff “placed his right hand on the high-pressure hydraulic hose, which suddenly

ruptured and blasted hydraulic fluid through his glove into the palm of his right hand” injuring

plaintiff. Id. at 1008.

        The parties presented two opposing theories. Plaintiff urged that the structural integrity

of the hose would breakdown over time due to repetitive bending and flexing at the area “where

the hose’s rigid fitting or coupling connects to the hand-held rescue tool.” Id. at 1012.

Plaintiff’s expert suggested that a bend restrictor would have delayed breakdown of the integrity

of the hose and concluded that “the design defect of failing to incorporate a bend restrictor on the

hose caused or contributed to Holloway’s injury.” Id.

        The hydraulic hose manufacturer, Holmatro, presented expert opinion that argued this

was a “one-time failure” Id. event and that the rupture “probably occurred when [plaintiff’s co-




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worker] was using the hydraulic cutter in an attempt to remove the vehicle’s brake pedal.” Id.

The defense expert “opined that the cutter’s contact with the metal of the brake pedal caused the

tool to ‘bounce out’ and placed an excessive load on the hose”. Id.

           The trial court allowed the competing opinions to go to the jury which rendered judgment

for plaintiff. The court of appeal affirmed holding that “a jury could reasonably have found that

the use of the bend restrictor throughout the entire period of the hose’s service more probable

than not would have prevented Holloway’s injury by preserving the integrity of the hose through

its normal life expectancy.” Id. at 1013. Moreover, in connection with the risk-utility analysis,

the court stated, “the gravity of the potential damage resulting from a rupture of a high-pressure

hydraulic hose significantly outweighed the relatively minimal burden on Holmatro of adopting

the alternative design incorporating bend restrictors.” Id. The bend restrictor was a low-cost

addition to the hose that added to the structural integrity. More importantly, nowhere in the

opinion does that Court suggest that plaintiff had to cast and produce its own bend restrictor.

           Like the manufacturer in the Holloway case, supra, the defendant Crown has a low-cost

solution to address left leg amputations – a door. The cost to retrofit the machine is minimal,

$750 - $1000, when compared to the gravity and risk of harm to the plaintiff – a risk that Crown

is all too familiar with.

           In short, the gravity of the potential for injury to plaintiff’s left leg from a frequently

occurring, known foreseeable event, an impact of a machine with a bollard or pole, injuring left

lower extremities, significantly outweighs the relatively minimal burden on Crown of adopting

the alternative design incorporating a door. And too, Crown knows that the most common injury

sustained during the ordinary, foreseeable use of its machine is lower left leg injuries.17


17   Q: You agree that left foot injuries are the most common body part to be injured on a stand-up
        forklift?


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         It is patently clear that an alternative design existed even before the date of the

manufacture of the subject forklift. There is substantial evidence that use of a door on Crown

forklifts prevent left leg injury – when Crown manufactured and sold forklifts with doors not a

single operator suffered an injury to their left extremity.18 When the proposed alternative design

has been produced and put into practical use in the industry, then that alone is sufficient evidence

of a specific alternative design.

         In Sandifer v. Hoyt Archery Inc., 2015 WL 4429189 (D.C. M.D. La July 20, 2015) Dr.

Sandifer was killed when a component part, specifically a metal cable guard, of a Hoyt

Compound Bow penetrated his left temple and became imbedded in his brain. The specific facts

of the incident were unknown as the event was unwitnessed.

         Like Crown in this case, defendant argued that plaintiff’s expert should be stricken,

because he failed to provide a specific alternative design that was designed, built or tested by

plaintiff’s expert.

         In rejecting the argument that the plaintiff must always design, build and/or test the

alternative design, Judge Dick looked to Watkins v. Telsmith, 1214 F.3d 984 (5th Cir. 1997) for

guidance and stated “[c]ourts should critically examine alternative ideas offered by experts to

insure they go beyond mere conceptualization and demonstrate feasibility.” Id at *4.

         Judge Dick found that the proposed alternative design went beyond conceptualization and

demonstrated feasibility. Arguably, the most salient fact leading Judge Dick to her conclusion


   A: I believe that's also correct.
(Deposition of Ronald A. Grisez, Johns v. Crown, p. 143, lines 2-5 attached as Exhibit “1”).
18 Q: Is it still true that Crown has no knowledge of a single incident where a door of a stand-up forklift contributed

      to cause any injury or death?
   A: I don't know about no injury, but I'm aware that there are no serious injuries with a Crown truck that had a
      door.
(Deposition of Ronald A. Grisez, Johns v. Crown, p. 12, lines 11-17 attached as Exhibit “1”).




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was that the proposed alternative design – positioning the cable rod guide lower on the bow –

“ha[d] already been produced by the defendant.” Id. Further, the same alternative design

had been introduced into commerce by a competitor of the defendant manufacturer.

           This stand-up forklift at issue was manufactured on June 17, 2016. Plaintiff’s proposed

alternative design is the Crown forklift with a Crown door that is not only feasible, but has a

perfect record on the prevention of left lower crush/amputation injuries.

           Moreover, Dr. Meyer’s report reveals other competitors of Crown have introduced stand-

up forklifts with doors into the marketplace prior to plaintiff’s injury.19 Implicit in Crown’s

filing is that a Court should require the plaintiff to design a door and ignore Crown’s door design

which, again, has a perfect safety record addressing those injuries Crown most commonly sees in

the use of its stand-up forklifts. There is no requirement the plaintiff and expert actually design,

produce and test their proposed design on the product at issue. (Guy v. Crown Equipment Co.,

394 F.3d 320, 327 (5th Cir. 2004)).

           Dr. Meyer’s report and affidavit support the notion that the alternative design to C-21 is a

commonsense approach, which consists of adding hinges and a door:

                    8. As I indicated in my report (p. 109-111), the addition of a door
                    offer three primary functional benefits pertaining to lower left leg
                    injuries. It serves as visual and tactile reminder of the boundaries
                    of the operator compartment and a reminder for the operator to
                    keep their leg inside. It also serves as a physical barrier to prevent
                    the foot from leaving the occupant compartment. While doors can
                    vary in the material from which they are constructed and how they
                    are made to be kept shut, they possess several pertinent design
                    elements all of which are shown in the doors referenced in my
                    report. The doors are hinged on either the right or left side of the
                    operator compartment opening (when viewed from the rear).
                    Either side is acceptable. If hinged on the left side, an operator’s
                    left foot and leg will meet with higher resistance to the doors
                    opening if the door is unlatched. All doors cover the opening to
                    the occupant compartment to a height approximately as tall as the

19   See Dr. Meyer’s report pp. 11-13 attached as Exhibit “9”.


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              sides of the forklift main body. A spring returns the door to the
              normally-closed position. Other door elements are not critical to
              the functionality of the door in terms of the door in terms of
              operator left lower leg protection.

              9. A representative specific door design that I endorse is modeled
              after the door used by Railsback et al. in their 2014 study
              published in the Proceedings of the ASME 2014 International
              Mechanical Engineering Congress and Exposition (IMECE2014-
              38847). The door is an aluminum off-the-shelf unit commercially
              available through Raymond. Railsback et al. adapted it to a Crown
              sidestance stand-up forklift by welding the door hinges to the
              frame of the forklift. The same adaptation can be performed on a
              Crown RM6000 such as the one utilized by Mr. Vallee. Railsback
              reports the specifics of the door: 28lbs, approximately 34 in tall 24
              in wide and 0.35 in thick. The hinges are spring loaded and
              adjustable regarding the force required to open the doors. Images
              of this door in the open and closed configuration are show below.




              (Dr. Meyer’s affidavit #8-9 attached as Exhibit “10”).

       Thus, plaintiff has offered a specific alternative design notwithstanding the argument by

Crown that they have not.

                                  Second Design Alternative

       In regards to the second design alternative, plaintiff offers switching the left foot

brake to the right side of the floorboard which is presently occupied by the right foot pad




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sensor. The right foot pad sensor would then be placed where the left foot brake is

presently.20

        Dr. Meyer’s assertion, that the floorboard can be essentially reprogramed, via quick and

easy fix, is similar to the Johnson v. T.L. James & Co., 809 So. 2d 287 (La App. 1st Cir 2001)

case. In that case, Caterpillar manufactured an excavator that crushed plaintiff while it was

backing up. The back-up alarm system had become disconnected. Because the machine was

old, had been repaired a number of times and a guard removed, Caterpillar urged that “plaintiff

cannot prove the unreasonably dangerous condition (of the excavator) existed when it left

Caterpillar. Id. at 290-291. The trial court agreed and granted summary judgment in the

manufacturer’s favor.

        Although the appellate court concluded that summary judgment was inappropriate

because issues of material fact existed, i.e. whether the defect existed at the time of the

manufacture, the Court went further in its analysis under the LPLA and addressed the issue of

whether plaintiff presented an alternative design that would have prevented damage. In doing

this, the Johnson court favorably weighed the testimony of plaintiff’s expert who opined “ a

more substantial connector would have prevented plaintiff’s damage noting plaintiff’s expert

opinion that “a more substantial…i.e. locking type or clip or keepers, and stated these types of

alternative designs would ‘prevent…the connector from being pulled apart’.’” Id. at 292.

        Also, the Johnson court also performed a risk utility analysis, citing a U.S. Fifth Circuit

court case, Laverpere v. Niagra Machine & Tool Works, Inc., 910 F.2d 167, 184 (5th Cir. 1990)

cert. denied 510 U.S. 859 (1993) which noted that the risk utility analysis maybe such that “the

judge or jury, by relying on background knowledge and ‘common sense’ can ‘ fill in the gaps’ in


20See paragraph 10 of Dr. Meyer’s affidavit and pp. 124-125 attached at Exhibit “10” and his supplemental report
dated 7/2/21, attached as Exhibit “9”


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plaintiff’s case, estimating the extent of the risk avoided, the costs of implanting the proposal

design change or the adverse effects on the design modifications on the utility of the machine.”

However, “the product itself or the design feature in question must be relatively uncomplicated,

and the implications of the change in design must be such that a layman could readily grasp

them.”21

           In addressing this final issue as to whether summary judgment was appropriate the court

stated:

                    “Plaintiff produced evidence that a more substantial connector was
                    used elsewhere on the 225B excavator. ‘Filling the gaps as to the
                    rest of the risk-utility analysis with our ‘background knowledge’ of
                    this uncomplicated design feature, we can estimate the cost of
                    implementing the alternative design is low in light of the risk of the
                    alarm becoming disconnected, and without warning, the 225B
                    excavator backing into an unaware victim.22

           The analysis and the reversal of the trial court in summary judgment suggests that

common sense, low cost alternative design should be presented to the jury without necessity of

plaintiff spending exorbitant amounts of money to recreate “a wheel that is already created.”

           The Johnson case is important because there is no burden placed on the plaintiff or its

expert to mold, test, configure or create a locking type connecter, clip or keeper which was more

substantial and would have kept the wiring from disconnecting thereby alerting plaintiff that the

excavator was backing up. A door is an uncomplicated design alternative and most certainly

transposing the left brake and right sensor is another easy and quick alternative design allowing

the left leg to be placed firmly on the floor of the machine, rather than lifted to stop the lift truck.




21   Johnson v. T.L. James, 809 So.2d at p. 292.
22   Id.


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                                            Third Alternative Design

         The third alternative design offered by Dr. Meyer is a backrest presence sensory

switch. Dr. Meyer’s discussion of the back presence sensory switch is found at p. 5 paragraph

11 of his affidavit and is another alternative design that is a nominal cost and enhances stability

of the occupant of the stand-up forklift. Testing of the switch has already been performed by

Raymond, a competitor of Crown, and was discussed on p. 126 of Dr. Meyer’s report.23 Crown

knows what a sensing presence switch is because Crown has one on its entry bar. The right

“floor pedal” is a presence sensing switch. Refrigerators, microwaves and ovens have a switch

that senses when the door is open to turn on the light. Enhancing stability in the confines of the

open compartment by “forcing” the operator to place his back against one of Crown’s 5-points

of stability, reduces the opportunity for plaintiff’s left leg to leave the confines of the

compartment.

                            Risk Utility of the Alternative Design -- Generally

         Crown studied what a door on a stand-up forklift does to the time required to get off a lift

and found that the door added about ½ second to the average, non-emergency user.24 Thus,

Crown operator, getting off the lift 100 times a day, adds fifty (50) seconds of “non-productive”

time to the entire day.25




23 Dr. Meyer’s report p. 126 attached as Exhibit “9”. See also Dr. Meyer’s affidavit attached as Exhibit “11”.
24
   Q: The study that Crown did -- and you alluded to this earlier -- about what a door does to the time required to
       get off a lift truck is it adds about half a second to the average nonemergent user; is that fair?
(Deposition of Ronald A. Grisez, Johns v. Crown, p. 164, lines 11-15 attached as Exhibit “1”).
25
   Q: The study that Crown did -- and you alluded to this earlier -- about what a door does to the time required to get
       off a lift truck is it adds about half a second to the average nonemergent user; is that fair?
   A: I think it's the average in a laboratory setting, looking at a light, reacting to the light and jumping off the truck.
      I believe that was the average difference between with and without a door.
   Q: So if you're averaging of 100 times a day is right, then that would average 50 seconds a day that would be
      increased if there was a door just on the average operator's day; is that fair?
   A: Looking at it from that perspective, it sounds like that makes sense, yeah.
(Deposition of Ronald A. Grisez, Johns v. Crown, p. 164, line 11 to p. 165 line 3 attached as Exhibit “1”).


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         As indicated above, Crown’s stated reason for not protecting the left lower extremity is

the need to “jump” in case of off-dock and tip over accidents. However, other reasons Crown

proposed are non-events or simple one-time observations by a director of product safety, Dan

Dunlop. Additional reasons include a “guillotine effect”26 if the door is impacted; intrusion with

entrapment if the door collapses during an impact;27and snagging the operator in an emergency.28

However, these events have never happened.

         Additional disconcerting and perplexing reasons not to have a door include Mr. Dunlap’s

(a former director of product liability) observation that an operator got “hot” thus enticing him to

open the door29 and a door gave the operator a false sense a security thereby causing the

operators to not look and clear the path of travel before moving the lift.30

         Crown has concerns about adding a door for events that have never happened and one-

time observations are baffling. But yet the most common injury, a left leg crush or amputation,

that Crown has proven to prevent by adding a door, is if no moment.31


26 Q: The next one that I've seen is operators will stick their feet out, and with a door, there could be a guillotine
        effect if the door is impacted?
   A: That's correct.
   Q: But you're not aware of a single incident of this happening on a Crown lift truck, are you?
   A: That's correct.
(Deposition of Ronald Grisez, Johns v. Crown p. 26, line 22 to p. 27 line 5 attached as Exhibit “1”).
27 Id at p. 228 lines 4-18.
28 Id at p. 28 line 19 to p. 29 line 1
29 Q: Another basis that you provided is that heat will build up inside the operator area which would entice the

operator to open the door; is that correct?
   A: That's correct.
(Deposition of Ronald Grisez Johns v. Crown, p. 29, lines 2-6 attached as Exhibit “1”).
30 Q: The next item that you've used or the next basis that you've used as a basis for saying doors are inappropriate

        is a false sense of security; is that correct?
   A: That's correct.
(Deposition of Ronald Grisez, Johns v. Crown, p. 31, lines 7-21 attached as Exhibit “1”).
31 Q: And I think I remember seeing this. Crown repeatedly sent letters trying to convince these companies that

were making these special-order doors that it wasn't a good idea to put doors on them, right?
   A: I know there was communication with Kmart and Dale Manzel to kind of voice our opinion that we thought
       going with the doors was not the best choice.
   Q: And ultimately Crown made the decision not to even offer doors at all, true?
   A: I made that decision in 2010 with Ford. Ford, at the time, was the only customer that Crown was still
       providing the special-order doors.


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        A door does not impact the utility of the forklift other than adding 50 second of

unproductive time. The gravity of harm and risk of harm are great and foreseeable. The costs to

either retrofit the door or to add a door in the initial manufacturing process is minimal.

        Dr. Meyer’s alternative simple design allow Dawson’s left leg to remain stable and

attached to the floorboard and contemplates use of the right foot brake which is protected by the

adjacent wall of the RM6000. Moreover, in this case, after Dawson determined that plugging

was not working (and even turned his head to look at the joy stick, no doubt in disbelief)32 and

lifted his left leg completely off the left foot brake – it was too late. His leg was “tossed out”,

“jerked”, “propelled” or “thrown out” of the machine pinning it between the pole and machine.

If Crown had simply transposed the left brake and right sensor, there would have been no reason

for Dawson to lift his left leg. Further, if Crown had attached its door to the machine, there

would have been no injry.

                                    Risk Utility Analysis – Specifically

        In his affidavit, Dr. Meyer’s explains that the utility of the forklift is not compromised in

anyway and that the risk of severe harm to plaintiff’s left leg is non-existent or greatly

diminished.

             •   The addition of a door to the stand-up forklift Mr. Vallee was using would not
                 affect its utility. Doors have been sold and added to stand-up forklifts for years.
                 There has been no outcry from users that doors diminish the usefulness of the
                 forklift or somehow impede its ability to perform its function to lift, move, and
                 lower material. Doors still allow for free and easy egress from the forklift. There
                 have been a number of arguments against adding a door, and I discussed these
                 extensively within my report at pages 113 -122. From a utility and functionality
                 standpoint, there are no valid reasons to exclude a door.


   Q: And if somebody now said, hey, we want a door, you would say no, we're not going to sell you the lift truck?
   A: That's correct.
(Deposition of Ronald Grisez, Johns v. Crown, p. 120, line 13 to p. 121 line 5 attached as Exhibit “1”).
32 Eyewitness, Quinn Fassbender, confirms Dawson turned his head and looked at the control while Dawson was in

the process of losing control of the machine.
(See attached signed statement of Quinn Fassbender attached as Exhibit “11”).


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           •   Likewise with my proposed modified foot controls, there is no loss in the truck’s
               utility or functionality. Changing the logic for how Crown’s foot controls work
               would in no way affect the forklift’s functionality. Rather, how the foot controls
               in the operator compartment are utilized to ensure the operators maintain their
               position safely within the truck as well as to brake the truck are modified without
               compromising utility. The Hyster-Yale foot control design actually improves the
               utility of the truck in that there are not pedals that an operator must stand on so
               the operator is more free to adjust their position while operating the forklift. In
               addition, the Hyster-Yale design adds the beneficial element of a brake that is
               applied in an intuitive manner by pressing it, similar to how one would apply the
               brake in an automobile.

           •   Nor would a backrest presence sensor compromise the utility of the forklift in any
               manner. As discussed in my report (p. 125 -127), the backrest presence sensor
               would help ensure operators are maintaining the five-points-of-contact stance that
               Crown desires and considers normal operating position. Testing performed by
               Raymond has shown that operators have no difficulties maintaining contact with
               the backrest. As I have indicated previously, for precise, low-speed maneuvering,
               a cut-off of the switch’s operation can be implemented so that the backrest
               presence sensor does not affect the functionality of the forklift.

                Louisiana cases cited by defendant are factual divergent from
                         the Vallee case and provide little guidance.

       Seither v. Winnebago, Ind., 853 So.2d 37 (La. Ct. App. 2003) is totally inopposite to the

instant case. Seither was a crash worthiness case where the plaintiff’s expert proposed

significant modification of the Winnebago at issue. Plaintiff’s expert’s first alternative design

sought to “stretch the front end of the [Winnebago] out” (Id. at 40) and to do so he “considered a

minivan with unibody construction as a model or basis for his alternative design.” Id. Winnebago

tested the plaintiff’s design and concluded the occupants of the Winnebago would be killed

under that alternative design.

       The second alternative design that the plaintiff’s expert to “stretch the front end” was “a

mock-up of a Dodge Ram van.” Id. at 41. The Court noted that with the design alternative “[t]he

record is devoid of any technical drawings, calculations, scientific study, photographs or the




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publication of any engineering principles as to this proposed alternative design.” Id. Further, in

Seither, plaintiff’s proposed second alternative design did not prevent plaintiff’s injury.

          In the Scordell v. Louisville Ladder Group, CA. No. 02-2565 (E.D. La.) Oct. 23, 2003,

this Court noted that plaintiff failed to clearly identify a specific alternative design and merely

pointed to a photograph of a heavy duty ladder that was safer because of a stiffner, a boot and a

protective collar. Id. at *23. This Court determined plaintiff’s expert “failed to clarify how a

stiffner, boot or collar would apply to the incident model.” Id. Nor did the plaintiff identify how

those devices “would be placed to prevent an accident like Scordell’s.” Id. Scordell’s expert

admitted that this was “not a design defect case.” Id. at *23-24. Moreover, the Court stated a

risk-utility analysis was not presented for consideration. Id. at *24.

          Gray v. Industrial Plant Maintenance is not applicable as plaintiff in Gray failed to even

present an expert report to substantiate his opinions.

          In Lacoste v. Pilgrim, Case No. 2:07-cv_02904-SSV-SS, R.Doc 135, this Court granted

summary judgment where the plaintiff’s evidence of an alternative feasible design for an alleged

defective adult bed sheet manufactured by ADT was “a printout from the Amazon.com website

featuring a brand of wearable polyester baby blanket – described as a “sleepsack which is

intended to be zipped around a baby like clothing.”33 The ad attached claimed the ‘sleepsack’

was fire resistant. Further the claim against the manufacturer of the trailer was dismissed for a

complete lack of evidence. The Court noted that a contextless photograph of a bathroom escape

hatch and an unsworn opinion from someone in the RV business are not significant evidentiary

basis to allow a jury to even consider whether an alternative design existed at the time the trailer

left the manufacturer’s control.34


33   Doc 135 p.10
34   Doc 135 p.16


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       It is undisputed that plaintiff offered specific evidence of an actual design that existed

when the stand-up, open compartment forklift left Crown manufacturer in June of 2016. Plaintiff

does not offer a conceptualized possibility – plaintiff offers a specific door that has been used in

real-life operations in multiple locations and which has a perfect safety record in connection

relative to injuries to left lower legs. There have been zero injuries to left lower extremities

when a Crown door is placed on a Crown stand-up forklift. The following photograph is of a

Crown forklift with a Crown door and is reference in Dr. Ziernicki’s report as Figure 22 which is

reproduced herein:




       Moreover, Dr. Ziernicki placed a door on a Crown forklift and conducted egress studies.

Dr. Ziernicki describes the door as follows:

               I have performed my own testing of operator egress time on stand-
               up forklift equipped with a door. I equipped a stand-up forklift
               produced by Crown with a readily available rear occupant
               compartment guard door that was manufactured by Raymond.
               Testing of the egress time from the forklift was performed without
               a door, with the spring-loaded Raymond door, and the spring-
               loaded Raymond door with a latching system designed by myself.
               The egress time was tested with 5 different test subjects, which
               egressed from the forklift 5 times for each test condition. In all, 75
               egress tests were performed. The average egress time without a
               door was 0.76 seconds, with a spring-loaded door the egress time
               was 0.81 seconds, and with the latched door the egress time was
               0.85 seconds. The overall increase of time to egress from no door


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                 to a spring-loaded designed door was 0.05 seconds. The overall
                 increase of time to egress from no door to designed latching door
                 was 0.09 seconds. The latching door designed by me was designed
                 to minimize egress time. I published these findings in a peer-
                 reviewed paper through ASME in 201468. I concluded, it is
                 technically feasible to manufacture a latching door that does not
                 significantly affect egress time and it is my opinion the safety
                 benefits of a door far outweigh the minimal increase in egress time.
                 I also recognize and accept the safety benefits of a spring-loaded
                 door and believe a door (spring or latch closed), at a minimum,
                 would improve the overall operator’s safety from lower limb
                 injuries.
                 (Dr. Ziernicki’s report p. 46 attached as Exhibit “12”).

        As Dr. Ziernicki’s report states, Crown placed into its stream of commerce 686 Crown

forklifts with doors. Mr. Grisez acknowledged that numerous corporate customers purchased

Crown stand-up riders with a door and there was not a single report of a left leg injury. And too,

where are the complaints lodged by customers that doors impede jumping during off-dock and

tip over accidents? There are none.

        In its motion, Crown poses some unanswered questions and concerns that militate against

the use of a door. However, again, not a single incident or concern Crown referenced manifested

itself during the use of Crown doors. That is, there were no snag events, intrusions, entrapments,

guillotine-like injuries with the use of a door. Mr. Grisez admits these are, in effect, hypothetical

non-events. Further, a buildup of heat in the operator’s compartment and the concern about a

door creating hazardous driving is backed purely on observations by Crown direct of safety Dan

Dunlap. As the photographs attached35 show, the Republic warehouse is an open air facility.

And this is New Orleans. The Court can take judicial notice that this is an extremely hot climate

and with or without the door, the operator will sweat. The penultimate feigned “concern” about

the use of a door is Crown’s concern that the door causes distracted driving. The connection


35Photograph of the convey belt which is attached to Donald Raziano’s first declaration dated 10/22/21 attached as
Exhibit “13” in globo.


                                                        23
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between hazardous driving and a door is simply head-scratching. Further, plaintiff has offered a

risk-utility analysis for all three alternative designs. The cost to add a door, transpose the brake

and add a sensor are minimal. The time lost to open a door and effects on worker’s production

are minimal. The gravity and risk of harm clearly outweigh the additional postulated concerns

mentioned in Crown’s brief.

                                              Conclusion

       Crown has nearly 700 accidents documented wherein use of a stand-up forklift resulted in

severe lower left leg injuries. The word “accident” is defined as an unfortunate incident that

happens unexpectedly and unintentionally, typically resulting in damage or injury. These

accidents result because of the environment where forklifts are placed – narrow aisle

environments where impacts with stationary objects will occur. Of course, as evidenced by the

numbers alone, these accidents cause severe left leg injuries. This is a reasonably anticipated use

that must be addressed by the manufacture of the machine. And it has not and will not be

addressed unless the court allows this case to go forward.

       At this juncture, it is important to reference the report and affidavit of Dr. John Jeka, a

man who has engaged in the study of human balance for most of his professional life.

       In an emergency situation or unexpected situation, Crown asks the operators of the truck

to lift their foot off the brake pedal and doing so creates an involuntary response wherein the left

lower extremity seeks balance. Crown simply cannot accept that this happens time and again,

lawsuit after lawsuit. Rather than address, quite frankly, an obvious design defect, Crown has

decided to re-engineer the human body and call an involuntary reflex of the operator seeking

balance, a voluntary or intentional action.




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       As stated above, this is an obvious design defect and plaintiff proposes three (3)

alternative designs that have and will end the mutilation of left lower extremities of people like

Dawson Valle, a young man fresh out of high school who wanted to work in an open air

environment.

       The designs that plaintiff has proposed are simple and cost effective. The designs do not

affect the utility of the vehicle in any drastic way – the cost of a door, transposing the brake and

sensor and/or adding a back sensor are nominal costs when compared the risk and gravity of

harm to operators.

       Plaintiff figuratively and literally prays that the defendant’s motion for summary

judgment on the issue of alternative design claims use be denied.

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing pleading was filed electronically with the
Clerk of the Court using the Court’s CM/ECF system and a copy sent to all counsel of record
by electronic means this 1st day of November 2021.

                                              s/Patrick G. Kehoe, Jr.
                                              PATRICK G. KEHOE, JR.



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